        Case 17-62244       Doc 19     Filed 01/23/18 Entered 01/23/18 09:06:26           Desc Main
                                        Document     Page 1 of 13




                              UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA

      In re: Billy S. White
             Michelle L. White
                                                                   Chapter 13

              Debtor(s).                                           Case No. 17-62244


          AMENDED CHAPTER 13 PLAN COVER SHEET AND NOTICE OF HEARING


              The attached plan is an amended plan that replaces the ☐confirmed or ☒ unconfirmed
      plan dated November 16, 2017.


              The Court shall hold a hearing on confirmation of the attached plan and any timely filed
      objections on Thursday, March 29, 2018, at 9:30 am, at U.S. Courthouse, Room 210, 1101
      Court St., Lynchburg, VA 24504.


              The following describes the section(s) of the plan being amended, the change in
      treatment, the affected creditor(s), and the impact of the change:

Section of Plan          Change in Treatment                  Creditor              Impact of Change
  - 2.1               Plan payments                             N/A             Increased payment after 1st
                                                                                           year




  -     3.1           Installment payment listed          U.S. Dept of Ed.                 N/A
  -     4.3           Amended attorney fee                      N/A                        N/A
  -     5.1           Percentage paid to unsecured         All Unsecured                Increased
  Case 17-62244       Doc 19     Filed 01/23/18 Entered 01/23/18 09:06:26             Desc Main
                                  Document     Page 2 of 13




                                                              _/s/ Christopher M. Winslow___
                                                              Counsel for Debtor(s)

Counsel for the debtor shall file a separate certification of mailing and/or service of the
amended chapter 13 plan and this cover sheet, unless the Court orders otherwise.
                  Case 17-62244             Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26                                Desc Main
                                                             Document     Page 3 of 13



Fill in this information to identify your case:

Debtor 1                      Billy S. White

Debtor 2                      Michelle L. White
(Spouse, if filing)

United States Bankruptcy Court for the:         WESTERN DISTRICT OF VIRGINIA

Case number               17-62244                                                                         Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                      Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                     Employed
       attach a separate page with             Employment status
       information about additional                                  Not employed                                 Not employed
       employers.
                                               Occupation           Shipping & Receiving                          Store Manager
       Include part-time, seasonal, or
       self-employed work.                     Employer's name      Steel Horse Harley Davidson                   Murphy Express

       Occupation may include student          Employer's address
                                                                    11501 Hull Street Rd.                         1860 Stavemill Crossing Rd.
       or homemaker, if it applies.
                                                                    Midlothian, VA 23112                          Powhatan, VA 23139

                                               How long employed there?        11 months                                   2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.       $         1,753.00        $         4,089.00

3.     Estimate and list monthly overtime pay.                                              3.      +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.       $      1,753.00               $   4,089.00




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
             Case 17-62244             Doc 19         Filed 01/23/18 Entered 01/23/18 09:06:26                                  Desc Main
                                                       Document     Page 4 of 13


Debtor 1    Billy S. White
Debtor 2    Michelle L. White                                                                     Case number (if known)    17-62244


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      1,753.00       $         4,089.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        303.00   $               867.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                 0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                 0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                 0.00
      5e.    Insurance                                                                     5e.        $          0.00   $               280.00
      5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
      5g.    Union dues                                                                    5g.        $          0.00   $                 0.00
      5h.    Other deductions. Specify: Uniforms                                           5h.+       $        108.00 + $                 0.00
             VAC_Accrue                                                                               $          4.00   $                 0.00
             VAC_Remain                                                                               $          4.00   $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            419.00       $          1,147.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,334.00       $          2,942.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                 0.00
      8h. Other monthly income. Specify: VA Disability                                     8h.+ $              999.00 + $                 0.00
             Prorated tax refund                                                                $              167.00   $               167.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,166.00       $            167.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,500.00 + $       3,109.00 = $           5,609.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          5,609.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Husband's pay decreases during the "slow season" of October - March. Average bi-weekly take
                             home is expected to be $560




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
             Case 17-62244                 Doc 19         Filed 01/23/18 Entered 01/23/18 09:06:26                                    Desc Main
                                                           Document     Page 5 of 13



Fill in this information to identify your case:

Debtor 1                Billy S. White                                                                     Check if this is:
                                                                                                            An amended filing
Debtor 2                Michelle L. White                                                                   A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           17-62244
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.   Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’s
                                                                                                                        age
                                                                                                                                           Does dependent
                                                                                                                                           live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             2000                Yes
                                                                                                                                            No
                                                                                   Daughter                             2006                Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                660.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                               page 1
           Case 17-62244                  Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26                                      Desc Main
                                                           Document     Page 6 of 13


Debtor 1     Billy S. White
Debtor 2     Michelle L. White                                                                         Case number (if known)      17-62244

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               275.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                10.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                               400.00
      6d. Other. Specify:                                                                                    6d.   $                                 0.00
7.    Food and housekeeping supplies                                                                          7.   $                               900.00
8.    Childcare and children’s education costs                                                                8.   $                                50.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                               180.00
10.   Personal care products and services                                                                    10.   $                               200.00
11.   Medical and dental expenses                                                                            11.   $                               150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                 100.00
14.   Charitable contributions and religious donations                                                       14. $                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                                 0.00
      15b. Health insurance                                                                                15b.    $                                 0.00
      15c. Vehicle insurance                                                                               15c.    $                               305.00
      15d. Other insurance. Specify:                                                                       15d.    $                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property Tax                                                                         16. $                                  30.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                      17a.    $                                 0.00
      17b. Car payments for Vehicle 2                                                                      17b.    $                                 0.00
      17c. Other. Specify: Progressive Leasing                                                             17c.    $                               286.00
      17d. Other. Specify: Aaron's                                                                         17d.    $                                80.00
             Misc. expenses (emergencies & unexpected expenses)                                                    $                               200.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                      0.00
19. Other payments you make to support others who do not live with you.                         $                                                     0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                       0.00
    20b. Real estate taxes                                                               20b. $                                                       0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21. Other: Specify:                                                                        21. +$                                                     0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     4,526.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     4,526.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,609.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,526.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,083.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here: Debtor's rent their residence however they are responsible for out of pocket repairs to the
                          home. The current repairs needed are: hot water heater, stove, floor, fridge & pressure valve. Debtor's
                          may consider moving.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                 Case 17-62244                       Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26                     Desc Main
                                                                      Document     Page 7 of 13

 Fill in this information to identify your case:
 Debtor 1               Billy S. White
                              First Name            Middle Name             Last Name
 Debtor 2            Michelle L. White
 (Spouse, if filing) First Name      Middle Name           Last Name
 United States Bankruptcy Court for the:         WESTERN DISTRICT OF VIRGINIA                                         Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                 17-62244                                                                                 have been changed.
                                                                                                                       2.1: Plan payments & length of
                                                                                                                       plan
                                                                                                                       3.3: Treatment of secured
                                                                                                                       claims
                                                                                                                       4.3: Treatment of fees & priority
                                                                                                                       claims
                                                                                                                       5.1: Treatment of nonpriority
                                                                                                                       unsecured claims
 (If known)




Official Form 113
Chapter 13 Plan                                                                                                                                          12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                 Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                 Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                       Included                 Not Included

 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$1050 per Month for 12 months
$1410 per Month for 36 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
              payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.


APPENDIX D                                                                      Chapter 13 Plan                                                 Page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 17-62244                       Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26                    Desc Main
                                                                      Document     Page 8 of 13

 Debtor                Billy S. White                                                            Case number        17-62244
                       Michelle L. White

             Check all that apply:
                     Debtor(s) will make payments pursuant to a payroll deduction order.
                     Debtor(s) will make payments directly to the trustee.
                     Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                 Debtor(s) will retain any income tax refunds received during the plan term.

                         Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                         Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                 None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $63,360.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

        Check one.
                None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                 required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                 by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                 disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                 a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                 as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                 below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                 otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                 that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                 by the debtor(s).
 Name of Creditor Collateral                     Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                 payment                   arrearage (if any) on arrearage on arrearage                  total
                                                 (including escrow)                               (if applicable)                        payments by
                                                                                                                                         trustee
                                                                           Prepetition:
 Aaron's             Bed                                    $80.00                    $0.00            0.00%                   $0.00               $0.00
                                                 Disbursed by:
                                                  Trustee
                                                  Debtor(s)
 Progressive                                                               Prepetition:
 Leasing             Living room set                       $286.00                    $0.00            0.00%                   $0.00               $0.00
                                                 Disbursed by:
                                                  Trustee
                                                  Debtor(s)
                     Educational - Pay                                     Prepetition:
 Us Dept Ed          Direct                                   $5.00                   $0.00            0.00%                   $0.00               $0.00
                                                 Disbursed by:
                                                  Trustee
                                                  Debtor(s)
                     Educational - Pay                                     Prepetition:
 Us Dept Ed          Direct                                   $5.00                   $0.00            0.00%                   $0.00               $0.00
                                                 Disbursed by:

Official Form 113                                                              Chapter 13 Plan                                                 Page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                 Case 17-62244                       Doc 19             Filed 01/23/18 Entered 01/23/18 09:06:26                          Desc Main
                                                                         Document     Page 9 of 13

 Debtor                Billy S. White                                                                     Case number        17-62244
                       Michelle L. White

 Name of Creditor              Collateral                            Current installment   Amount of            Interest rate     Monthly payment Estimated
                                                                     payment               arrearage (if any)   on arrearage      on arrearage    total
                                                                     (including escrow)                         (if applicable)                   payments by
                                                                                                                                                  trustee
                                                                      Trustee
                                                                      Debtor(s)
Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                    The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                              acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                          proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
                          the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                          payments disbursed by the trustee rather than by the debtor(s).

 Name of Creditor                    Collateral                             Amount of claim          Interest rate       Monthly plan     Estimated total
                                                                                                                         payment          payments by trustee
                                     2007 Chevrolet
                                     Silverado 1500 153K+
 Gateway Financial                   miles
 Solutions                            NADA value                            $12,031.88                      4.25%              $405.12                     $12,963.90
                                                                                                                         Disbursed by:
                                                                                                                          Trustee
                                                                                                                          Debtor(s)
                                     2011
                                     Harley-Davidson
                                     Street Bob 29K+
 Harley Davidson                     miles
 Financial                            NADA value                            $5,489.96                       4.50%              $185.67                       $5,941.39
                                                                                                                         Disbursed by:
                                                                                                                          Trustee
                                                                                                                          Debtor(s)
                                     2009 Ford F-150
 Regional                            122K+ miles
 Acceptance Co                        NADA value                            $17,151.70                      4.25%              $577.51                     $18,480.31
                                                                                                                         Disbursed by:
                                                                                                                          Trustee
                                                                                                                          Debtor(s)
                                     Credit Line Secured -
                                     (account closed by
 Wells Fargo Bank                    creditor post filing)                  $290.00                         0.00%                 $9.06                            $290.00
                                                                                                                         Disbursed by:
                                                                                                                          Trustee
                                                                                                                          Debtor(s)


Official Form 113                                                                       Chapter 13 Plan                                               Page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 17-62244                       Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26                   Desc Main
                                                                      Document     Page 10 of 13

 Debtor                Billy S. White                                                            Case number      17-62244
                       Michelle L. White

Insert additional claims as needed.

3.4          Lien avoidance.

Check one.
                         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
             during the plan term, they are estimated to total $6,336.00.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,750.00.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                    The debtor(s) estimate the total amount of other priority claims to be $300.00

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
              The sum of $ 15,198.40 .
                28.00 % of the total amount of these claims, an estimated payment of $ 15,198.40 .
              The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                         None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.


Official Form 113                                                              Chapter 13 Plan                                                Page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                 Case 17-62244                       Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26                  Desc Main
                                                                      Document     Page 11 of 13

 Debtor                Billy S. White                                                                Case number    17-62244
                       Michelle L. White

                         None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                         None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
       plan confirmation.
       entry of discharge.
       other:

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ Billy S. White                                                   X /s/ Michelle L. White
       Billy S. White                                                        Michelle L. White
       Signature of Debtor 1                                                 Signature of Debtor 2

       Executed on            January 23, 2018                                         Executed on      January 23, 2018

 X     /s/ Christopher M. Winslow                                               Date     January 23, 2018
       Christopher M. Winslow 76156
       Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




Official Form 113                                                              Chapter 13 Plan                                             Page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
                 Case 17-62244                       Doc 19          Filed 01/23/18 Entered 01/23/18 09:06:26              Desc Main
                                                                      Document     Page 12 of 13

 Debtor                Billy S. White                                                            Case number   17-62244
                       Michelle L. White

Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                   $0.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                           $0.00

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                              $37,675.60

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                         $0.00
 e.    Fees and priority claims (Part 4 total)                                                                                               $10,486.00

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                             $15,198.40

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                 $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                            $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                      $0.00

 j.    Nonstandard payments (Part 8, total)                                                                    +                                     $0.00


 Total of lines a through j                                                                                                                  $63,360.00




Official Form 113                                                              Chapter 13 Plan                                          Page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
               Case 17-62244                     Doc 19              Filed 01/23/18 Entered 01/23/18 09:06:26      Desc Main
                                                                      Document     Page 13 of 13




                                                               United States Bankruptcy Court
                                                                       Western District of Virginia
            Billy S. White
 In re      Michelle L. White                                                                         Case No.   17-62244
                                                                                     Debtor(s)        Chapter    13




                                VERIFICATION OF CREDITOR MATRIX - AMENDED


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: January 23, 2018                                                  /s/ Billy S. White
                                                                         Billy S. White
                                                                         Signature of Debtor

 Date: January 23, 2018                                                  /s/ Michelle L. White
                                                                         Michelle L. White
                                                                         Signature of Debtor




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
